Case 4:21-cv-03114 Document 17 Filed on 01/13/22 in TXSD Page 1 of 1

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Hello Magistrate! JAN 13 2022

Nathan Ochsner, Clerk of Court

My name is Blanche Turner, I’m the Mother of Dennis James Turner. | help my son each month if needed
with bills and my grandson Blake Turner with his college tuition. My son has brought to my attention
occasionally how his mortgage company was over charging him for his house payments. This my reason
for helping him, because | did not want to see him struggle with his mortgage note. He showed me what
he was paying on his mortgage and | know for a fact he is being over charged for mortgage note. My son
pays his bills on time. He has paid off some debt in the past which both of our name was on that debt. |
know he works hard to pay his debt.

Blanche Turner
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